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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


  STATE OF RHODE ISLAND, et al.,

                        Plaintiffs,

  v.                                                    C.A. No.: 1:25-cv-128

  DONALD J. TRUMP, et al.,

                        Defendants.
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             SUPPLEMENTAL DECLARATION OF DEBRA GARCIA Y GRIEGO

 Pursuant to 28 U.S.C. § 1746, I, Debra Garcia y Griego, hereby declare as follows:

        1.      I am providing this declaration to supplement the information I provided in my

 declaration dated March 31, 2025, and supplemented April 3, 2025.

        2.      As April 11, 2025, the $585,219.16 payment approved in eGMS Reach system on

 March 21, 2025, has still not been received by the State of New Mexico. It has now been twenty-

 one (21) since the reimbursement was approved, well past the ten (10) days for receipt of funds

 indicated by the federal government. We now considered this payment delayed.

        3.      For March 2025, we have at least a total of $189,787.80 in expenditure. A

 reimbursement request will be processed to request payment. This will bring the total amount due

 to the State of New Mexico by IMLS to $775,007.02 as of April 11, 2025.

        4.      On April 10, 2025, notice was received of cancellation of additional IMLS funds

 appropriated to units of State of New Mexico that are divisions of the New Mexico Department of

 Cultural Affairs. The two separate awards:

                a. The National Hispanic Cultural Center received notification canceling a $60,000

 grant for which no funds have been request as of April 11, 2025.

                b. The New Mexico Museum of Natural History and Science received notice via

 the New Mexico Museum of Natural History & Science Foundation that a $195,533.000 grant

 award made to the Foundation as the Museum’s fiscal agent was canceled. As of April 10, 2025,

 $132,106.76 has been received by the Foundation. Two reimbursements requests totaling

 $5,751.01 on April 2, 2025, and April 4, 2025, remain unpaid to date.




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 I declare under penalty of perjury under the laws of the United States that, to the best of my

 knowledge, the foregoing is true and correct. Executed on April11, 2025, at Las Cruces, New

 Mexico.

                                              Debra Garcia Digitally signed by Debra
                                                           Garcia y Griego

                                              y Griego     Date: 2025.04.11
                                            _____________________________________
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                                            DECLARANT
                                            SECRETARY DEBRA GARCIA Y GRIEGO
                                            DEPARTMENT OF CULTURAL AFFAIRS




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